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Reply to Portland Office



                                                             May 6, 2020


       Francesca Freccero
       Assistant Federal Public Defender
       1001 SW Main Street, Suite 1700
       Portland, Oregon

               Re:     United States v. Joseph Lucio Jimenez;
                       Case Nos. 3:19-CR-00429-SI-1 and 3:19-CR-00596-SI-2;
                       Plea Agreement Letter

       Dear Ms. Freccero:

       1.     Parties/Scope: This plea agreement is between this United States Attorney’s Office
       (USAO) and defendant, and thus does not bind any other federal, state, or local prosecuting,
       administrative, or regulatory authority. This agreement does not apply to any charges other than
       those specifically mentioned herein.

       2.     Charges: Defendant agrees to plead guilty to Count One of the Indictment in 3:19-CR-
       00429-SI-1, which charges the offense of Felon in Possession of a Firearm, in violation of 18
       U.S.C. § 922(g)(1). Defendant also agrees to plead guilty to Count One of the Indictment in
       3:19-CR-00596-SI-2, which charges the offense of Conspiracy to Distribute Controlled
       Substances, in violation of 21 U.S.C. §§ 841(a)(1), 841 (b)(1)(C), and 846.

       3.      Penalties: The maximum sentence on Count One of the Indictment in 3:19-CR-00429-
       SI-1 (Felon in Possession of a Firearm) is 10 years of imprisonment, three years of supervised
       release, a fine of $250,000, and a $100 fee assessment. The maximum sentence on Count One of
       the Indictment in 3:19-CR-00596-SI-2 (Conspiracy to Distribute Controlled Substances) is 20
       years of imprisonment, three years of supervised release, a fine of $1,000,000 (or twice the gross
       pecuniary gains or losses resulting from the offense if such amount exceeds $250,000), and a
       $100 fee assessment. Defendant agrees to pay the fee assessments by the time of entry of guilty
       plea or explain to the Court why this cannot be done. Defendant further stipulates to the
       forfeiture and abandonment of the assets as set forth below.




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4.     Dismissal/No Prosecution: The USAO will move at the time of sentencing to dismiss
any remaining counts against defendant. The USAO further agrees not to bring additional
charges against defendant in the District of Oregon arising out of this investigation, known to the
USAO at the time of this agreement.

5.     Elements and Factual Basis:

       a. Felon in Possession of a Firearm:

      In order for defendant to be found guilty of Count One of the Indictment in 3:19-CR-
00429-SI-1, the government must prove the following elements beyond a reasonable doubt:

       First, defendant knowingly possessed a firearm;

        Second, at the time of the charged act, defendant had previously been convicted in a court
of a crime punishable by imprisonment for a term exceeding one year;

       Third, at the time of the charged act, defendant knew that he had previously been
convicted in a court of a crime punishable by imprisonment for a term exceeding one year; and

       Fourth, the firearm had been transported in interstate or foreign commerce.

      Defendant admits the elements of the offense alleged in Count One of the Indictment in
3:19-CR-00429-SI-1.

       b. Conspiracy to Distribute Controlled Substances

      In order for defendant to be found guilty of Count One of the Indictment in 3:19-CR-
00596-SI-2, the government must prove the following elements beyond a reasonable doubt:

       First, defendant unlawfully, knowingly, and intentionally combined, conspired,
confederated, and agreed with another;

       Second, the object of the defendant’s agreement with another was to distribute a mixture
and substance containing a detectable amount of heroin, a Schedule I controlled substance.

      Defendant admits the elements of the offense alleged in Count One of the Indictment in
3:19-CR-00596-SI-2.




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6.      Sentencing Factors: The parties agree that the Court must first determine the applicable
advisory guideline range, then determine a reasonable sentence considering that range and the
factors listed in 18 U.S.C. § 3553(a). Where the parties agree that sentencing factors apply, such
agreement constitutes sufficient proof to satisfy the applicable evidentiary standard.

7.      Advisory Guideline Calculations: The parties agree that pursuant to USSG §
2D1.1(c)(14), defendant’s Base Offense Level is 14 (less than 10 grams of heroin). A two-level
upward adjustment applies under USSG § 2D1.1(b)(4), because the object of the offense was to
distribute a controlled substance into a prison. The parties agree that no other enhancements
apply to the controlled substances offense. The parties further agree that, for purposes of this
case, defendant’s Base Offense Level for the firearms offense under USSG § 2K2.1(a)(6) is 14.
The parties agree the guideline calculation for the controlled substances offense and the firearm
offense group under USSG § 3D1.2, and that the controlled substances guideline range will
control for purposes of calculating the overall advisory guideline range. Finally, the government
will recommend a downward variance under 18 U.S.C. § 3553(a) sufficient to achieve an offense
level that includes a sentencing recommendation of 24 months in prison.

8.      Acceptance of Responsibility: Defendant must demonstrate to the Court that defendant
fully admits and accepts responsibility under USSG § 3E1.1 for defendant’s unlawful conduct in
this case. If defendant does so, the USAO will recommend a three-level reduction in defendant’s
offense level (two levels if defendant’s offense level is less than sixteen). The USAO reserves
the right to change this recommendation if defendant, between plea and sentencing, commits any
criminal offense, obstructs or attempts to obstruct justice as explained in USSG § 3C1.1, or acts
inconsistently with acceptance of responsibility as explained in USSG § 3E1.1.

9.      “Safety Valve” Adjustment Does Not Apply: The parties agree that defendant does not
meet the criteria of 18 U.S.C. § 3553(f) and USSG § 5C1.2 for “safety valve” relief. The parties
therefore will not recommend a two-level reduction in offense level pursuant to USSG §
2D1.1(b)(18).

10.    No Enhancement: The USAO agrees not to file for a sentencing enhancement under 21
U.S.C. § 851 if defendant has any prior felony drug convictions.

11.     Sentencing Recommendation: So long as defendant demonstrates an acceptance of
responsibility as explained above, the USAO will recommend a sentence of 24 months in prison
to be followed by a three-year term of supervised release. The defendant may recommend any
sentence he deems appropriate, including a sentence of time-served.

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12.     Waiver of Appeal/Post-Conviction Relief: Defendant knowingly and voluntarily
waives the right to appeal from any aspect of the conviction and sentence on any grounds, except
for a claim that: (1) the sentence imposed exceeds the statutory maximum, or (2) the Court
arrives at an advisory sentencing guideline range by applying an upward departure under the
provisions of Guidelines Chapters 4 or 5K, or (3) the Court exercises its discretion under 18
U.S.C. § 3553(a) to impose a sentence which exceeds the advisory guideline sentencing range as
determined by the Court. Should defendant seek an appeal, despite this waiver, the USAO may
take any position on any issue on appeal. Defendant also waives the right to file any collateral
attack, including a motion under 28 U.S.C. § 2255, challenging any aspect of the conviction or
sentence on any grounds, except on grounds of ineffective assistance of counsel, and except as
provided in Fed. R. Crim. P. 33 and 18 U.S.C. § 3582(c)(2). In the event that any of defendant’s
convictions under this agreement are vacated, the government may reinstate and/or file any other
charges, and may take any position at a resentencing hearing, notwithstanding any other
provision in this agreement.

13.      Court Not Bound: The Court is not bound by the recommendations of the parties or of
the presentence report (PSR) writer. Because this agreement is made under Rule 11(c)(1)(B) of
the Federal Rules of Criminal Procedure, defendant may not withdraw any guilty plea or rescind
this plea agreement if the Court does not follow the agreements or recommendations of the
parties.

14.     Full Disclosure/Reservation of Rights: The USAO will fully inform the PSR writer and
the Court of the facts and law related to defendant’s case. Except as set forth in this agreement,
the parties reserve all other rights to make sentencing recommendations and to respond to
motions and arguments by the opposition.

15.     Breach of Plea Agreement: If defendant breaches the terms of this agreement, or
commits any new criminal offenses between signing this agreement and sentencing, the USAO is
relieved of its obligations under this agreement, but defendant may not withdraw any guilty plea.

         If defendant believes that the government has breached the plea agreement, defendant
must raise any such claim before the district court, either prior to or at sentencing. If defendant
fails to raise a breach claim in district court, defendant has waived any such claim and is
precluded from raising a breach claim for the first time on appeal.

16.     Forfeiture Terms:

         A.         Assets and Authority: By signing this agreement, defendant knowingly and
voluntarily forfeits all right, title, and interest in and to all assets which are subject to forfeiture
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), including, but not limited to any

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property listed in an Amended Bill of Particulars filed in this case, as any property constituting,
or derived from, any proceeds obtained, directly or indirectly, as a result of violations set forth in
Count One in 3:19-CR-00429-SI-1, any property used, or intended to be used, in any manner or
part, to commit, or to facilitate the commission of said violations.

          B.       Agreement to Civil Forfeiture: Defendant agrees not to file a claim or
withdraw any claim already filed to any of the listed property in any civil proceeding,
administrative or judicial, which has been initiated. Defendant further waives the right to notice
of any forfeiture proceeding involving this property and agrees not to assist others in filing a
claim in any forfeiture proceeding.

           C.        No Alteration or Satisfaction: Defendant knowingly and voluntarily waives
the right to a jury trial on the forfeiture of assets. Defendant knowingly and voluntarily waives
all constitutional, legal and equitable defenses to the forfeiture of these assets, including any
claim or defense under the Eighth Amendment to the United States Constitution, and any rights
under Rule 32.2 of the Federal Rules of Criminal Procedure. Defendant further agrees forfeiture
of defendant’s assets shall not be treated as satisfaction of any fine, restitution, cost of
imprisonment, or any other penalty this Court may impose upon defendant in addition to
forfeiture.

           D.        Title Assistance: Defendant agrees to fully assist the USAO in the forfeiture
of the listed assets and to take whatever steps are necessary to pass clear title to the United
States, including but not limited to surrender of title and execution of any documents necessary
to transfer defendant’s interest in any of the above property to the United States, and assist in
bringing any assets located outside the United States within the jurisdiction of the United States,
and taking whatever steps are necessary to ensure that assets subject to forfeiture are not sold,
disbursed, wasted, hidden, or otherwise made unavailable for forfeiture.

          E.         Assets Not Identified: The USAO reserves its right to proceed against any
remaining assets not identified either in this agreement or in the civil actions which are being
resolved along with this plea of guilty, including any property in which defendant has any
interest or control, if said assets, real or personal, tangible or intangible, are subject to forfeiture.

         F.        Final Order of Forfeiture: Defendant agrees not to contest entry of a Final
Order of Forfeiture reflecting these forfeiture terms at the conclusion of the criminal case.

         G.        Abandonment of Firearms/Property: By signing this agreement, defendant
hereby voluntarily abandons all right, title, and interest to any firearms, ammunition and firearm
accessories seized from defendant.


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17.      Memorialization of Agreement: No promises, agreements, or conditions other than
those set forth in this agreement will be effective unless memorialized in writing and signed by
all parties listed below or confirmed on the record before the Court. If defendant accepts this
offer, please sign and attach the original of this letter to the Petition to Enter Plea.

18.    Deadline: This plea offer expires if not accepted by May 13, 2020, at 9:00 a.m.

                                                     Sincerely,

                                                     BILLY J. WILLIAMS
                                                     United States Attorney

                                                     /s/ Craig Gabriel

                                                     CRAIG GABRIEL
                                                     SCOTT BRADFORD
                                                     TOM RATCLIFFE
                                                     Assistant United States Attorneys

       I have carefully reviewed every part of this agreement with my attorney. I understand
and voluntarily agree to its terms. I expressly waive my rights to appeal as outlined in this
agreement. I wish to plead guilty because, in fact, I am guilty.


5/6/2020                                             /s/ Joseph Lucio Jimenez
Date                                                 JOSEPH LUCIO JIMENEZ
                                                     Defendant


        I represent the defendant as legal counsel. I have carefully reviewed every part of this
agreement with defendant. To my knowledge, defendant’s decisions to make this agreement and
to plead guilty are informed and voluntary ones.

       The electronic signatures on this document were inserted by me with the consent of those
who are parties to this agreement.

5/6/2020                                             /s/ Francesca Freccero
Date                                                 FRANCESCA FRECCERO
                                                     Attorney for Defendant


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